





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00116-CV






Jimmy Gayle Locklear, Appellant



v.



Texas Department of Insurance and Jose Montemayor,


Commissioner of Insurance, Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT


NO. 98-13333, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING 







	Appellant Jimmy Locklear appeals the district court's final judgment affirming the
Commissioner's order that denied his 1997 application for a Group I, Legal Reserve Life
Insurance Agent License (Group I License).  We will affirm the district court's judgment.


Background


	In December 1994, while appellant was a licensed insurance agent, he pleaded
guilty to the federal felony offenses of conspiracy to commit mail fraud and wire fraud.  Appellant
admitted that he received in excess of $800,000 in bribes and kickbacks while employed at J.C.
Penney.  In August 1995, appellant was convicted for the federal felony offenses and sentenced
to eighteen months in prison followed by three years of supervised release, and fined $50,000. 
On January 16, 1996, because of his federal felony convictions, the Commissioner revoked his
Group I License.  See Tex. Ins. Code Ann. art. 21.07-1, § 12(a)(9) (West Supp. 2000).

	On August 4, 1997, during his supervised release from prison, appellant applied
for a Group I License.  The Department refused appellant's application based on five grounds
including allegations that appellant:


(1)	failed to show good cause why the revocation of his previous license should
not be deemed a bar to the issuance of a new license;


(2)	has been convicted of a felony; and


(3)	is guilty of fraudulent or dishonest practices.



The Department sent a notice of hearing to appellant that informed him of the allegations and of
his right to appear and be represented by counsel at a hearing.  On March 17, 1998, a hearing was
convened before an administrative law judge at which the Department and appellant both appeared
represented by counsel.  The administrative law judge made the following findings, among others,
that were adopted by the Commissioner:  (1) that appellant pleaded guilty to federal felony
offenses of conspiracy to commit mail fraud and wire fraud and was convicted; (2) as a result of
his federal conviction he was sentenced to eighteen months imprisonment followed by three years
supervised release and fined $50,000; (3) because the federal felonies involved large sums of
money and a fiduciary duty, the nature of the crime directly relates to appellant's fitness to hold
an insurance agent's license; (4) on January 16, 1996, appellant's Group I License was revoked
based on his federal convictions; (5) appellant did not offer substantial evidence that the license
revocation should not be deemed a bar to the issuance of a new license; and (6) appellant had been
released from prison only fifteen months earlier.  On September 17, the Commissioner denied
appellant's application.  The Commissioner determined that appellant was guilty of fraudulent or
dishonest practices, that the revocation of his previous license barred the issuance of a new license,
and the Commissioner, therefore, was justified in denying appellant a Group I License.

	Appellant filed a motion for rehearing requesting that the Commissioner rescind the
order denying his license and complaining of several of the Commissioner's findings of fact and
conclusions of law.  Appellant's motion was overruled by operation of law.  Appellant then filed
this proceeding for judicial review of the Commissioner's order denying his 1997 application for
a Group I License.  The district court determined that the Commissioner's order was supported
by substantial evidence, denied the relief requested by appellant and affirmed the Commissioner's
order.  See Tex. Ins. Code Ann. § 36.203 (West Supp. 2000); Tex. Gov't Code Ann. § 2001.174
(West 2000) (judicial review of Commissioner's order is conducted pursuant to substantial
evidence rule).  Appellant timely filed a notice of appeal complaining of the district court's final
judgment.


Discussion


	This Court reviews the Commissioner's order using the standards of the substantial
evidence scope of review defined by the Administrative Procedure Act.  See Tex. Gov't Code
Ann. § 2001.174.  In conducting a substantial evidence review, we review the Commissioner's
findings, inferences, conclusions, and final decision to determine whether a rational basis exists
for the disputed action.  See Mireles v. Texas Dep't of Public Safety, 9 S.W.3d 128, 131 (Tex.
1999); Texas Health Facilities Comm'n v. Charter Medical-Dallas, Inc., 665 S.W.2d 446, 452
(Tex. 1984); Ramirez v. Texas State Bd. of Med. Exam'rs, 995 S.W.2d 915, 919 (Tex.
App.--Austin 1999, pet. denied).  The party challenging the agency decision bears the burden of
establishing that no reasonable basis exists in the record for the agency's decision.  Ramirez, 995
S.W.2d at 919 (citing Charter Medical-Dallas, 665 S.W.2d at 452).  We may not substitute our
judgment for that of the agency's as to the weight of the evidence.  See Mireles, 9 S.W.3d at 131;
Public Util. Comm'n v. Gulf States Util. Co., 809 S.W.2d 201, 211 (Tex. 1991).  Finally, the
decision of the agency should be reversed only if the challenging party demonstrates that the
absence of substantial evidence has prejudiced the party's substantial rights.  See Charter Medical-Dallas, 665 S.W.2d at 452.

	When a previously licensed individual has had a license revoked and, after one year
of the revocation, applies for a new license, the Commissioner may deny the application unless
the applicant shows good cause why the revocation of the previous license shall not be deemed a
bar to the issuance of a new license.  See Tex. Ins. Code Ann. art. 21.07-1, § 12(c) (West 2000)
(emphasis added).

	The Commissioner revoked appellant's previous Group I License by official order
of January 6, 1996, due to his federal felony convictions for the offenses of conspiracy to commit
mail fraud and wire fraud.  See Tex. Ins. Code Ann. art. 21.07-1, § 12(a)(9) (West Supp. 2000). 
The Commissioner, therefore, could deny appellant's 1997 application unless appellant showed
good cause why the prior revocation of his Group I License should not be deemed a bar to this
application.  See id.

	Appellant argues that the Occupations Code limits the Commissioner's ability to
deny him a license because of his past criminal conviction.  See Tex. Occ. Code Ann. §§ 53.021-.025 (West Supp. 2000).(1)  A licensing authority may disqualify a person from receiving a license
on the grounds that the person has been convicted of a felony that directly relates to the duties and
responsibilities of the licensed occupation.  See id. at § 53.021(a).  Chapter 53 also sets out factors
that the licensing authority may consider in determining whether the conviction relates to the
occupation.  See id. at § 53.022.  These factors include:


(1)	the nature and seriousness of the crime;


(2)	the relationship of the crime to the purposes for requiring a license to engage
in the occupation;


(3)	the extent to which a license might offer an opportunity to engage in further
criminal activity of the same type as that in which the person previously had
been involved; and 


(4)	the relationship of the crime to the ability, capacity, or fitness required to
perform the duties and discharge the responsibilities of the licensed
occupation.



Id.  Chapter 53 also lists other factors for the licensing authority to consider when determining the
present fitness of a person who has been convicted of a crime.  See id. at § 53.023.  These
additional factors include:


(1)	The extent and nature of the person's past criminal activity;


(2)	the age of the person when the crime was committed;


(3)	the amount of time that has elapsed since the person's last criminal activity;


(4)	the conduct and work activity of the person before and after the criminal
activity;


(5)	evidence of the person's rehabilitation or rehabilitative effort while
incarcerated or after release; and 


(6)	other evidence of the person's fitness, including letters of recommendation
from various persons in contact with the convicted person.  



Id.  Additionally, each licensing authority shall issue guidelines relating to its practices.  See id.
at § 53.025.

	The Department has issued guidelines related to determining the consequences of
a criminal conviction when it considers granting a license to sell insurance.  See 28 Tex. Admin.
Code §§ 1.501-.502 (2000).  These guidelines include the recognition that the relationship between
insurance agents and the public requires trust in and reliance upon agents because of the complex
and varied nature of insurance and insurance-related products.  See id. at § 1.502(a)(1).  In light
of the special relationship, the matters specified in the Occupations Code sections 53.022 and
53.023 are considered by the Department when determining whether to deny any license under the
Department's jurisdiction.  See id.  According to the guidelines, the Department considers it very
important that licensees and license applicants be honest, trustworthy, and reliable.  See id. at
§&nbsp;1.502(a).  Accordingly, crimes involving moral turpitude, including but not limited to fraud,
dishonesty, and the mishandling of funds are generally of prime importance in determining fitness
for an insurance license.  See id.

	The Commissioner found that appellant was convicted of felony fraud.  The
Department and the Commissioner have determined that the serious nature of felony convictions
involving crimes of moral turpitude bear such a strong relationship to the occupations licensed by
the Department that special rules apply to licensing persons convicted of such crimes.  See id. at
§ 1.502(a)(3).  The Department or Commissioner cannot issue a license to any applicant for any
license regulated by the Department if the applicant has been convicted of a felony involving moral
turpitude unless the Commissioner finds that other matters, such as those specified in sections
53.022 and 53.023 of the Occupations Code, outweigh the serious nature of a felony conviction
involving moral turpitude when viewed in light of the occupation being licensed.  See id. at
§&nbsp;1.502(a)(3)(C).

	Appellant's federal felony convictions warranted serious consideration by the
Commissioner of his suitability for an insurance agent's license.  The Commissioner determined
that appellant's felony convictions included a breach of a fiduciary relationship.  Moreover, the
convictions involved the fraudulent taking of $800,000.  The Department recognized that an
insurance agent is placed in a position of trust and has power over large sums of money.  The
Commissioner considered the statutory factors and determined that appellant should not be granted
a license to sell insurance.  We hold that appellant failed to establish that there was no reasonable
basis in the record for the Commissioner's decision to deny his application for a Group I License.(2) 
	The district court's judgment is affirmed.



					                                                                         

					Lee Yeakel, Justice

Before Justices Jones, Yeakel and Patterson

Affirmed

Filed:   October 5, 2000

Publish


1.      &nbsp;&nbsp;See Act of May 19, 1981, 67th Leg., R.S., ch. 267, § 1, 1981 Tex. Gen. Laws 694, 694. 
This statute was codified by Act of May 13, 1999, 76th Leg., R.S., ch. 388, § 1, 1999 Tex. Gen.
Laws 1431, 1447.  For convenience we will cite to the current Occupations Code sections.  
2.      &nbsp;&nbsp;As an additional basis for denying appellant's 1997 application, the Commissioner found that
appellant made a material misrepresentation on his previous application for a Group I License and
renewal.  Because we affirm the Commissioner's denial of appellant's 1997 application based on
appellant's failure to show good cause why the revocation of his previous Group I License based
on federal felony convictions should not be a bar to this application, we decline to address
appellant's contentions complaining about any additional bases the Commissioner found for
denying appellant's 1997 application as those contentions are not necessary to the disposition of
the appeal.  See Tex. R. App. P. 47.1.  


onduct and work activity of the person before and after the criminal
activity;


(5)	evidence of the person's rehabil